FILED: KINGS COUNTY CLERK 03/01/2024 09:58 AM                                                        INDEX NO. 504456/2024
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NYSCEF DOC. NO.                                                       1 PageIDNYSCEF:
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF KINGS
          ----------------------------------------------------------------X
          VOX FUNDING LLC,
                                                                                Index No.: 504456/2024
                           Plaintiff,
                                                                                AFFIRMATION OF
                  -against-                                                     SERVICE

          CXOSYNC LLC D/B/A CXOSYNC et al,

                            Defendants.
          ----------------------------------------------------------------X

         STATE OF NEW YORK  )
                            ) ss.:
         COUNTY OF NEW YORK )

                 YESHAYA GORKIN, an attorney duly admitted to practice law before the Courts of
         the State of New York, hereby affirms, under the penalty of perjury, as follows:
                 I am a partner of Ainsworth Gorkin PLLC, attorneys for Plaintiff, am over the age of
         18, am not a party to this action, and am a resident of the State of New York.
         On, 2/29/2024, I caused to be served a true and accurate copy of the NOTICE OF
         ELECTRONIC FILING and SUMMONS WITH NOTICE upon CXOSYNC LLC D/B/A
         CXOSYNC, by certified mail, return receipt requested, by depositing the same in an official
         depository under the exclusive care and custody of the United States Postal Service within the
         State of New York designated for that purpose, addressed to:

         CXOSYNC LLC D/B/A CXOSYNC
         1900 E GOLF RD STE 500, SCHAUMBURG, IL 60173

                  The forgoing method of service was authorized by Defendants under the Merchant
         Agreement, which is the subject to the dispute herein (a copy of which is attached hereto as
         Exhibit A). The Appellate Division, Second Department has held that service of process by
         mail as per the terms of a written agreement is sufficient and reasonably calculated to apprise
         a defendant of the pendency of a lawsuit. See Matter of New York Merchants Protective Co.,
         Inc., v. Mima’s Kitchen, Inc., 114 A.D.3d 796 (2d Dep’t 2014); see also, Matter of Fernandez
         (Universal Underwriters Ins.) Co., 130 A.D. 2d 657 (2d Dep’t 1987).

         Dated: New York, New York
                March 1, 2024


                                                                              Yeshaya Gorkin, Esq.




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